  Case 1:20-cv-00392-MN Document 21 Filed 07/02/20 Page 1 of 1 PageID #: 223




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ROTHSCHILD BROADCAST                               )
 DISTRIBUTION SYSTEMS, LLC,                         )
                                                    )
                Plaintiff,                          )     C.A. No. 20-392-MN
                                                    )
        v.                                          )     JURY TRIAL DEMANDED
                                                    )
 DEEZER, INC.,                                      )
                                                    )
                Defendant.                          )

             STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED, by Plaintiff Rothschild Broadcast

Distribution Systems, LLC and Defendant Deezer, Inc., by their undersigned counsel, subject to

the approval of the Court, that all claims and defenses asserted in the above-captioned action shall

be dismissed with prejudice, and each party will bear its own costs and attorneys’ fees.

 CHONG LAW FIRM, P.A.                               POTTER ANDERSON & CORROON LLP

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 July 1, 2020
                                                    Attorneys for Defendant Deezer, Inc.

       IT IS SO ORDERED this QG
                             ___ day of _________________,
                                            -XO\            2020.


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